Filed 8/26/24 P. v. Hiriarte CA2/1
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION ONE


 THE PEOPLE,                                                  B325448

           Plaintiff and Respondent,                          (Los Angeles County
                                                              Super. Ct. No. VA044027)
           v.

 DANIEL THOMAS HIRIARTE
 et al.,

          Defendants and
          Appellants.


      APPEALS from orders of the Superior Court of Los Angeles
County, Lillian Vega Jacobs, Judge. Affirmed.
      Julie Caleca, under appointment by the Court of Appeal,
for Defendant and Appellant Daniel Thomas Hiriarte.
      Laini Millar Melnick, under appointment by the Court of
Appeal, for Defendant and Appellant Christopher DeHerrera.
      Kathy R. Moreno, under appointment by the Court of
Appeal, for Defendant and Appellant Anthony William Salazar.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Assistant
Attorney General, Kenneth C. Byrne and Allison H. Chung,
Deputy Attorneys General, for Plaintiff and Respondent.
              __________________________________

      Daniel Thomas Hiriarte, Christopher DeHerrera, and
Anthony William Salazar (collectively, defendants), who were
convicted of first degree murder in 1998, appeal from orders
denying their petitions for resentencing after an evidentiary
hearing under Penal Code former section 1170.95 (now section
1172.6).1 Each defendant challenges the sufficiency of the
evidence supporting his conviction for murder based on the trial
court’s finding that defendants entered into a conspiracy to
commit murder. We reject defendants’ contentions of error and
affirm.
       FACTUAL AND PROCEDURAL BACKGROUND
      At approximately 3:00 a.m., on May 31, 1997, Victor Vaca
was shot and killed in the parking lot of an apartment complex,
located within the territory of the 18th Street gang and around a
block away from rival Maywood Locos gang territory. A
.45-caliber bullet and two .357-caliber bullets were recovered
from Vaca’s body. Defendants, three members of the Maywood




      1 Effective June 30, 2022, Penal Code section 1170.95 was

renumbered section 1172.6, with no change in text (Stats. 2022,
ch. 58, § 10).
      Undesignated statutory references are to the Penal Code.




                                2
Locos gang,2 were charged with and convicted of Vaca’s murder.
This crime is the subject of defendants’ petitions for resentencing.
       The information filed in this case further charged
defendant Salazar, alone, with a separate murder and attempted
murder that allegedly occurred on April 5, 1997, and an assault
with a firearm that allegedly occurred on January 25, 1997. With
respect to all crimes, the information alleged Salazar personally
used a firearm (§ 12022.5, subd. (a)(1)), and a principal was
armed with a firearm (§ 12022, subd. (a)(1)).
       We take our account of the facts and circumstances of the
shooting from the reporter’s transcripts of defendants’ joint trial.
The trial court received and considered these transcripts at the
evidentiary hearing on defendants’ petitions for resentencing. In
the present appeals, we granted defendant DeHerrera’s request
for judicial notice of the trial record in this case, including the
reporter’s transcripts of the trial.
A.     Evidence Presented Regarding the Murder
       1.    Ongoing war between 18th Street and Maywood
             Locos gangs
       Lay witnesses testified at defendants’ trial about an
ongoing and violent rivalry between the Maywood Locos and 18th
Street gangs. Jack Zebris, a Maywood Locos member, indicated
that at the time of the Vaca shooting, Maywood Locos was
“having problems” with 18th Street and the two gangs did not get
along. He was aware of shootings between the two gangs. Steve
Medina, a trial witness who testified regarding one of the alleged
incidents charged against Salazar only, stated he lived in 18th

      2 Defendants did not dispute at trial and they do not

dispute here that they were members of the Maywood Locos gang
at the time of the Vaca shooting.




                                 3
Street gang territory, and indicated he was aware of “a big
ongoing war between 18th Street and Maywood Locos” around
the time of that other incident (less than two months before the
Vaca shooting).
       Zebris stated that Slauson Avenue is the boundary between
the two gangs. Huntington Park Police Department Detective
John Navarrette, one of the lead investigators of the Vaca
shooting, testified that Maywood Locos territory was to the north
of Slauson Avenue (in Maywood) and 18th Street territory to the
south (in Huntington Park), and members of these two gangs
would cross Slauson to “conduct missions to get at the enemy.”
Navarrette further testified that the apartment complex where
Vaca was killed was known to him “as an 18th Street hangout
spot.”
       2.    Maywood Locos member Jack Zebris’s interaction
             with defendants minutes before the Vaca shooting
       Zebris, who was initially a suspect in the Vaca murder, but
no longer by the time of trial, testified under a grant of immunity.
He identified himself and all three defendants as Maywood Locos
gang members. He stated he had known DeHerrera (whom he
referred to as “Kunta”) since elementary school. He met Salazar
(known to him as “Psycho”) in 1991, the same year he (Zebris)
joined the Maywood Locos. He met Hiriarte (known to him as
“Midget”) a few years later. Around the time of the Vaca
shooting, Zebris would see defendants every day in Maywood.
       Zebris testified that he had once seen Salazar with a
.45-caliber gun and had seen him with a 9-millimeter gun on a
couple occasions (not on the date of the Vaca shooting). Between
four and seven hours before the Vaca shooting, Zebris was at a
Maywood Locos hangout spot on 53rd Street, and he observed




                                 4
DeHerrera with a small, lightweight, chrome .357-caliber gun;
Zebris held the gun. He testified that a .357-caliber gun he was
shown in court at defendants’ trial (which was used in the Vaca
shooting) was not the same gun he had seen DeHerrera with
hours before the shooting. According to Zebris, the gun he
observed in court was larger.
       Zebris stated that in the early morning hours of May 31,
1997, shortly before the shooting (which occurred at
approximately 3:00 a.m.), he was riding through Maywood Locos
territory in a car driven by fellow gang member “Largo,” when
they spotted Salazar spray painting graffiti at the corner of 57th
or 58th Street and Everett Avenue. Largo stopped the car and
offered Salazar a ride. Salazar accepted and asked Largo to drop
him off at the intersection of 57th Street and Carmelita Avenue,
approximately two blocks north of Slauson Avenue, the boundary
separating Maywood Locos from 18th Street territory. When
they arrived at the drop-off point, Zebris observed that Hiriarte
and DeHerrera were there. Zebris indicated it was “kind of
weird” for them to meet up there because it was not a typical
Maywood Locos hangout spot. They usually congregated around
53rd or 54th Street.
       Salazar exited the car, and Hiriarte indicated he wanted
Zebris to join them by saying to Zebris, “ ‘Come on’ ” and/or
“ ‘Let’s go.’ ” Zebris exited the car, too, and went to join them.
Largo reminded Zebris that he was supposed to do Largo a favor
by helping him find a place to obtain rock cocaine. Zebris decided
to go with Largo, and he returned to the car. He heard Salazar
say, “ ‘We don’t need him.’ ” It appeared to Zebris that Salazar
was “pissed off” that he refused to go with them.




                                5
       As Zebris rode away with Largo, he observed Salazar,
DeHerrera, and Hiriarte walking south on Carmelita Avenue
toward Slauson Avenue (a distance of around two blocks). Within
5-10 minutes, while Zebris and Largo were riding through
Maywood, Zebris saw patrol units and police helicopters in the
area. He did not witness a shooting.
       Zebris recalled that Salazar was wearing a blue and yellow
jacket as defendants walked toward Slauson Avenue. Zebris did
not observe any of the defendants carrying a gun when he
interacted with them just before the Vaca shooting.
       Zebris stated that the day after the shooting, he saw
Hiriarte on 54th Street, and it appeared to him that Hiriarte was
“pissed off” at him. He did not speak with any of the defendants
about the shooting.
       The prosecutor asked Zebris if he knew what defendants
were going to do when he saw them walking toward Slauson
Avenue. He responded, “Yeah, kind of. You going that way?
Yeah.” On cross-examination, however, when asked if he knew
what defendants were going to do or where they were going, he
replied, “Not really.”
       3.    Javier Perez’s eyewitness account of the Vaca
             homicide
       Javier Perez, who testified at trial, witnessed the shooting
of his cousin Vaca on May 31, 1997, at approximately 3:00 a.m.
At that time, Perez, Vaca, Vaca’s brother Juan,3 and their friend
Pedro were eating fast food in the parking lot of the apartment
complex where Vaca and Juan lived. The entrance to that

      3 Because we refer to murder victim Victor Vaca as “Vaca”

throughout this opinion, we will refer to Juan Vaca by his first
name to avoid confusion, and not out of disrespect.




                                 6
parking lot is on Carmelita Avenue, around one block south of
Slauson Avenue (and around three blocks from where Zebris saw
defendants minutes before).4 Perez had heard that 18th Street
gang members lived at the apartment complex but denied that
he, Vaca, Juan, or Pedro associated with any gang.
       Perez stated that moments before the shooting, he was
sitting down talking to Vaca, who was standing. They were near
the entrance to the apartment complex, and Juan and Pedro were
around 20 meters away, near Juan’s van. Two men approached
Vaca and asked him if he and Perez were “the ones from the 18.”
Vaca told the men they did not know anyone who “belonged to the
18.” The two men immediately began shooting at Vaca. After he
heard the first gunshot, which came from a “big caliber gun,”
Perez saw Vaca fall to the ground, and Perez took cover behind a
vehicle in the parking lot. The gunfire continued. At first, Perez
heard more shots from the big gun, and then he heard additional
shots from a different, smaller caliber gun. When the gunfire
stopped, Perez stood up and saw the two men running through
the parking lot toward the street. He did not see a third man.
Perez observed that Vaca had been shot multiple times in the
head and chest.
       Perez testified that one of the men who approached Vaca
wore a blue and yellow jacket. He did not tell the detective who
interviewed him the morning of the shooting about the jacket, but
when a detective later showed him the jacket during a



      4 Detective Navarrette testified that at the time of the

shooting, there was a car wash on Carmelita just south of
Slauson Avenue, and next to it an empty lot, and then the
apartment complex where Vaca and Juan lived.




                                 7
subsequent interview, he immediately recognized it as the jacket
one of the shooters was wearing.
      During the investigation of the shooting, a detective
showed Perez multiple six-pack photo lineups, and Perez did not
identify anyone as a shooter. At trial, Perez testified that
Salazar and DeHerrera looked familiar to him, but he could not
“say with any kind of certainty” that they were the ones who shot
Vaca.
      4.     Security guard Daniel Gonzalez observes Salazar and
             two men running away from the area of the shooting
             immediately thereafter
      Daniel Gonzalez, who testified at trial, worked for a private
security services company, providing patrol security. At
approximately 3:00 a.m., on May 31, 1997, he was driving his
daily patrol route, which included the intersection of Carmelita
and Slauson Avenues. As he drove westbound on Slauson toward
Carmelita and approached the first limit line at that intersection,
he heard a gunshot. By the time he crossed through the
intersection, he had heard around 10 gunshots. He was familiar
with the apartment complex at issue here and believed the shots
were coming from the parking lot in that complex. He made a
U-turn, intending to drive to the police station in Maywood to
report the shooting.
      Gonzalez testified that as he drove eastbound on Slauson
Avenue, approaching the intersection with Carmelita Avenue,
three men ran across Slauson in front of his patrol vehicle,
heading north on Carmelita. He did not observe anyone else in
the area. The men were running in a line, one in front of the
other and came within 15 feet of his vehicle. He noticed that the
man in the middle of the line wore a blue and yellow jacket and




                                 8
was making motions at his waistband with both hands as if he
were trying to keep a heavy object like a gun from falling out of
his pants. Gonzalez watched the man’s hands, concerned that he
might have a weapon and turn it on Gonzalez.
       Gonzalez stated that as he was looking for the entrance to
the police station, he “noticed a lot of police vehicles going
towards the scene.” He drove to the apartment complex and
reported what he had observed to officers.
       5.     Maywood Police Officer Carlos Alvarez detains
              Salazar three blocks from the crime scene; the other
              two men flee
       Carlos Alvarez, a patrol officer for the City of Maywood,
testified at trial. He stated that minutes after 3:00 a.m., on May
31, 1997, he received a radio broadcast regarding suspects fleeing
the scene of a homicide at Carmelita and Slauson. He drove his
patrol car to the area, and within three minutes of the radio
broadcast, he located three men running westbound on 56th
Street from Carmelita Avenue, around three streets away from
the crime scene.5 He exited his patrol car and ordered the men to
stop. One complied, and Alvarez detained him. The other two
men ran northbound through yards of houses and were not
caught. In court, at defendants’ trial, Alvarez identified Salazar
as the man he detained, referring to him by his Maywood Locos



      5 According to Officer Tua, from the Huntington Park Police

Department, Officer Alvarez told him he saw a total of two men
running, not three, and that is what Tua wrote in his police
report regarding the Vaca shooting. Alvarez testified at trial that
he remembered seeing three men running, and Tua made a
mistake in writing the report.




                                 9
gang moniker, Psycho. Alvarez could not identify the two men
who fled.
       Alvarez testified that Salazar was wearing a blue and
yellow jacket when he detained him. Alvarez identified the
jacket in court. Another officer from the Maywood Police
Department, who responded to assist Alvarez, searched Salazar
and recovered a fully loaded 9-millimeter pistol from his
waistband and a can of red spray paint from his right front pants
pocket. There was no evidence the 9-millimeter firearm was used
in the Vaca shooting.
       6.    Investigation of the Vaca homicide
             a.    Gonzalez identifies Salazar in the field
       Officers transported security guard Gonzalez from the
crime scene to the location where Salazar was detained to
determine if Gonzalez could make an identification. Gonzalez
recognized the blue and yellow jacket Salazar was wearing and
identified him as one of the three men who had run in front of his
patrol car. Later, when officers showed Gonzalez six-pack photo
lineups, he was unable to positively identify any of the three men.
             b.    Graffiti at the crime scene
       Officer Ronald Davis from the Huntington Park Police
Department, who testified at trial, was one of the investigating
officers on the Vaca homicide, along with Detective Navarrette.
He stated that when he arrived at the crime scene after the
shooting, he noticed graffiti on a wall directly across the street
from the crime scene. He observed 18th Street gang graffiti,
including the number 18 and gang members’ names. There was
fresh red spray paint covering the 18th Street graffiti: there were
letters representing the Maywood Locos gang; and the number 18
was crossed out and a 7 painted next to it to make 187. Davis




                                10
identified the painted-over 18th Street graffiti in photographs the
prosecutor showed him.
       Davis testified that he compared the fresh red paint on the
wall with the spray can recovered from Salazar’s pocket, and
observed that they were the same color. He also examined the
blue and yellow jacket Salazar was wearing and found specks of
red on it.
              c.     Officers recover the .357-caliber firearm used in
                     the shooting
       The parties stipulated at trial that Vaca died from five
gunshot wounds—two to his chest, two to his right temple, and
one to his shoulder. Shortly after the shooting, officers recovered
a .357-caliber firearm from a trash bin near the crime scene. It
was later determined that two of the bullets in Vaca’s body were
fired from that firearm.
              d.     Salazar’s hands are tested for gunshot residue
       An hour or more after Salazar was brought to jail after his
arrest, Officer Davis used a kit to test Salazar’s hands for
gunshot residue. When he was finished, he secured the kit and
sent it for processing. The criminalist who analyzed the kit
testified at trial that she did not find gunshot residue, and
therefore, the result was inconclusive, meaning she could not
determine whether Salazar had fired a gun. She explained that
90 percent of gunshot residue particles are lost within the first
hour; and a person can remove all particles from their hands by
washing them or wiping them on clothing.
              e.     The .45-caliber gun used in the Vaca shooting
                     is recovered from inside a car, near Salazar
       At some point after his May 31, 1997 arrest, Salazar was
released from jail. On July 15, 1997, Officer David Alvarado from




                                 11
the Upland Police Department responded to a citizen complaint
and came into contact with Salazar. Alvarado testified at trial
that when he responded to the location, he found Salazar lying
down in the back seat of a vehicle with his head behind the
driver’s seat. Another man was in the driver’s seat. Alvarado
ordered the men to exit the vehicle and then he searched it. He
recovered a loaded .22-caliber revolver from the front floorboard
on the passenger side of the vehicle, and a loaded .45 caliber
firearm from the rear floorboard on the driver’s side. The latter
firearm was within reaching distance of Salazar.
       The parties stipulated at trial that the .45-caliber firearm
recovered on July 15, 1997 was used in the Vaca shooting, and at
least one of the bullets found in Vaca’s body was fired from that
gun.
       7.     Gang expert testimony
       Adrian Punderson testified at trial as the prosecution’s
gang expert. He was a police officer for 13 years, and he retired
the year before the Vaca shooting. During his last seven years as
a police officer, he ran a gang task force.
       Punderson stated that he recognized defendants as
Maywood Locos gang members. Throughout his career as a
police officer, he had daily interactions with the Maywood Locos
(and its predecessor gang).
       Punderson testified that when he was a police officer, he
“was charged with dealing with” the 18th Street gang, which he
described as “probably the most powerful gang in Southern
California,” and the most violent gang in the Los Angeles area.
Through that work, he became familiar with the rivalry between
18th Street and Maywood Locos. He explained at trial how and
why that rivalry developed over the years. He was aware of




                                12
“some pivotal incidents that occurred that really spurred and
flared up the violence between the two groups,” beginning in 1990
or 1991. The prosecutor asked him if he was familiar with a
specific incident that occurred around three weeks before the
Vaca shooting in which an 18th Street member shot a Maywood
Locos member. Punderson stated he did not have any personal
knowledge of that specific incident, but he had heard that it
occurred.6
       Punderson described the area of Huntington Park around
Slauson and Carmelita as a “notorious hangout for the 18th
Street gang members” and explained that Slauson was a
“territorial line” between 18th Street and Maywood Locos. He
was aware of “documented missions” in which 18th Street and
Maywood Locos gang members crossed Slauson to shoot at each
other.
       Punderson indicated Maywood Locos would only go into
18th Street territory for a “business purpose” (i.e., to conduct a
mission) because it constitutes “a direct disrespect to a rival’s
neighborhood to enter into that neighborhood without having
permission to do so.” He opined that if three Maywood Locos
members armed with two or more guns crossed Slauson on
Carmelita, that would be consistent with the three Maywood
Locos “doing a mission” against 18th Street. They would be
“looking to take some course of action.” He defined a mission as
when gang members “get together and load up in a group and
head out to handle whatever their business may be. [¶] This is
consistent with all gangs in that area so far as they may be


      6 The prosecutor also asked Zebris about this specific

incident, and Zebris denied knowledge of it.




                                13
committing a burglary, they may be committing a robbery, they
may be committing -- planning to do a drive-by shooting. Things
of that nature.”
       Punderson opined that it would enhance the reputation of
the Maywood Locos if some of its members crossed Slauson into
18th Street territory and shot and killed someone there. He also
testified that the manner in which a hypothetical shooting
(mirroring the facts of this case) was carried out is consistent
with an “edict” from the Mexican Mafia in or around 1994, that
gangs conduct walk-up shootings rather than drive-by shootings
to avoid accidentally killing innocent bystanders (e.g., children)
instead of an intended target.
       Punderson indicated that once Maywood Locos “cross south
of Slauson Avenue, it’s life or death for them.” Therefore, they
conduct missions in a group, so they have the backup of their
fellow gang members, and they “take care of and defend each
other.”
       The prosecutor showed Punderson photographs of the
graffiti on the wall across the street from the scene of the Vaca
shooting. Punderson testified that placing Maywood Locos
graffiti on a wall south of Slauson Avenue is a “show of
disrespect” and would serve as a challenge to 18th Street. He
also stated that writing 187, the Penal Code section for murder,
means “death to everyone from . . . that group” and indicates a
“life-and-death challenge.” He explained, “you’ll oftentimes see
that” (graffiti with 187) when “there is an intense rivalry”
between “two gangs that are warring and shooting and killing
each other.” During cross-examination, Punderson testified that
not every person who writes 187 on a wall has an intent to kill.
He also testified on cross-examination that not every gang




                                14
member who carries a gun does so because “he intends to
affirmatively shoot someone who is unarmed”; some carry guns
for protection because of where they live.
B.     Procedural History
       1.    Trial and direct appeal
       Before closing argument at defendants’ trial, the court
granted the prosecution’s motion to dismiss the three attempted
murder counts, the assault with a firearm count, and the
personal firearm use allegations against Salazar. The case went
to the jury on the two murder counts (the Vaca murder at issue in
this appeal, and the unrelated murder charge against Salazar
only).
       The prosecution’s theory regarding the Vaca murder was
that defendants entered into an (uncharged) conspiracy to
commit murder. As pertinent to defendants’ petitions for
resentencing, the trial court instructed the jury on the elements
of conspiracy (CALJIC No. 6.10.5) and also informed the jury that
a member of a conspiracy is guilty not only of the crime he and
his coconspirators agreed to and did commit, but is also liable for
the natural and probable consequences of any crime a
coconspirator committed to further the object of the conspiracy,
even if the crime was not intended as part of the agreement
between the coconspirators (CALJIC No. 6.11). In closing
argument, the prosecutor told the jurors that under the
instructions they were given, they could convict a defendant of
murder under the natural and probable consequences doctrine if
they concluded the defendant participated in the conspiracy with
an understanding that the group was conspiring to commit a
lesser crime.




                                15
       The jury found defendants guilty of the first degree murder
of Vaca, and found Salazar not guilty on the other murder charge.
The court sentenced each defendant to a state prison term of 25
years to life. Defendants appealed, and we affirmed the
judgments of their convictions. (People v. Salazar (Mar. 29, 2000,
B127918) [nonpub. opn.].)
       2.     Petitions for resentencing and first appeal from orders
              denying the petitions
       In 2018, the Legislature enacted Senate Bill No. 1437 “to
amend the felony murder rule and the natural and probable
consequences doctrine, as it relates to murder, to ensure that
murder liability is not imposed on a person who is not the actual
killer, did not act with the intent to kill, or was not a major
participant in the underlying felony who acted with reckless
indifference to human life.” (Sen. Bill No. 1437 (2017-2018 Reg.
Sess.) Stats. 2018, ch. 1015, § 1(f), p. 6674; §§ 188, subd. (a)(3) &amp;
189, subd. (e).) Senate Bill No. 1437 amended sections 188
(defining malice) and 189 (felony murder) and added former
section 1170.95, now renumbered section 1172.6, which
established a procedure for vacating murder convictions and
resentencing defendants who could no longer be convicted of
murder in light of the amendments to sections 188 and 189 made
effective January 1, 2019. (Stats. 2018, ch. 1015, § 4, pp. 6675–
6677.)
       Defendants each filed a petition for resentencing under
former section 1170.95, now section 1172.6. After counsel was
appointed for each defendant, and various hearings were held,
the trial court denied the petitions without holding an
evidentiary hearing, and defendants appealed. As we explained
in our opinion in those prior appeals, “In each case, the trial court




                                 16
concluded that [defendants] were ineligible for relief under
[former] section 1170.95 as a matter of law because their
convictions were based on the uncharged conspiracy, and were
not based on either felony murder or the natural and probable
consequences doctrine.” (People v. Salazar (Feb. 18, 2022,
B309409) [nonpub. opn.].) We concluded the trial court erred
because the record of defendants’ convictions did not establish as
a matter of law that defendants were convicted under a still-valid
theory of murder liability (conspiracy to commit murder) rather
than a now-invalid theory (the natural and probable
consequences doctrine). (Id. at pp. 7-12.) We reversed the orders
denying the petitions and remanded with directions for the trial
court to issue orders to show cause why defendants were not
entitled to relief under former section 1170.95. (Id. at pp. 12-13.)
       3.    Evidentiary hearing on the petitions for resentencing
       Upon remand, the trial court reappointed counsel for each
defendant. Salazar’s counsel filed a brief, arguing the
prosecution could not prove beyond a reasonable doubt that
Salazar “possessed any form of malice,” and therefore, the trial
court was required to vacate his murder conviction. The trial
court set the matter for an evidentiary hearing.
       At the outset of the October 17, 2022 evidentiary hearing,
the trial court referenced the prosecution’s burden to prove
beyond a reasonable doubt that defendants are guilty of murder
under the law as amended by Senate Bill No. 1437, and
acknowledged the trial court’s role as an independent fact finder.
The court indicated it had received and considered the reporter’s
and clerk’s transcripts from defendants’ trial, the portions of the
prior appellate opinions setting forth the procedural history of




                                17
this case, and the papers filed in connection with the petitions for
resentencing.
       The prosecutor informed the trial court that the
prosecution was proceeding under the theory of conspiracy to
commit murder—a still-valid theory of murder liability after the
enactment of Senate Bill No. 1437—which requires proof that
each member of the conspiracy had the specific intent to kill. The
prosecution relied on the evidence from defendants’ trial
(summarized above) in arguing it met its burden of proof beyond
a reasonable doubt that defendants are guilty of murder under
current law.
       Salazar’s counsel made a blanket objection to gang expert
Punderson’s testimony on the ground the testimony “was based
upon hearsay from other officers or hearsay from other
perspective [sic] gang members.” Counsel cited People v. Sanchez
(2016) 63 Cal.4th 665 as support for the objection. (Id. at p. 686
[expert may not “relate as true case-specific facts asserted in
hearsay statements, unless they are independently proven by
competent evidence or are covered by a hearsay exception”].)
DeHerrera and Hiriarte joined in the objection, which the trial
court overruled.
       Hiriarte testified at the evidentiary hearing. He denied the
following: (1) that he was at the scene of the Vaca shooting; (2)
that he had a gun on his person that night; (3) that he intended
to kill anyone that night; (4) that he was with Salazar or
DeHerrera at the time of the shooting; and (5) that Zebris was a
Maywood Locos gang member. Hiriarte admitted that he,
himself, was a Maywood Locos member, and stated he “had seen
[Zebris] around before,” but did not “know him on a personal
basis.”




                                18
         After discussing the facts of the case with the parties, and
hearing argument, the trial court denied the petitions, ruling as
follows:
        “I find that the defendants are guilty beyond a reasonable
doubt based on the conspiracy to commit murder. This court
finds each individual defendant had the specific intent required
and each had the specific intent to kill. Each defendant made
overt acts. The overt acts being meeting up, leaving where they
met up and walking together toward the scene of the shooting.
They were armed with firearms.
        “The agreement is clear based on circumstantial evidence
which is given the same degree of weight as direct evidence.
They are all three armed and they quickly as soon as they meet
up almost immediately walk to the scene where Mr. Vaca is
killed.
        “It wasn’t as if the three went in separate directions. It
wasn’t as if the three, upon having the shooting take place, ran in
different directions. They were all three together.
        “In terms of the evidence I reviewed, that agreement the
court feels can be construed based on circumstantial evidence.
The motive being as was shown at trial there was rivalry, bad
blood, between 18th Street and Maywood Locos.
        “And I would just again point out the context. The context,
it’s a very short window. It’s 3:00 in the morning. It’s not like a
lot of people are on the streets. Nobody ever mentions any other
people beyond the three, the three that are testified to as being
the defendants before the court today by Mr. Zebris, three people
as observed by a civilian, security guard Daniel Gonzalez.
Nobody else is referenced.




                                 19
       “So as the court, acting as an independent fact finder, again
finds that beyond a reasonable doubt each individual defendant
had the specific intent to kill and is guilty of murder under the
law taking into account [Senate Bill No. 1437], now codified as
Penal Code section 1172.6. So for those reasons, the petitions are
denied.”
                            DISCUSSION
       In separately filed briefing, each defendant challenges,
under state law, the sufficiency of the evidence supporting his
conviction for murder based on the trial court’s finding that
defendants entered into a conspiracy to commit murder.7 Each
defendant also makes federal constitutional claims regarding the
sufficiency of the evidence.
A.     Section 1172.6 and Standards Applicable to the
       Evidentiary Hearing
       If a defendant files a facially sufficient petition for
resentencing and makes a prima facie case for relief under
section 1172.6, as in this case, the trial court must issue an order
to show cause and “hold a hearing to determine whether to vacate
the murder . . . conviction and to recall the sentence and
resentence the petitioner on any remaining counts . . . .”
(§ 1172.6, subd. (d)(1).) At the hearing, the burden of proof is “on
the prosecution to prove, beyond a reasonable doubt, that the
petitioner is guilty of murder . . . under California law as

      7 Defendants raise many of the same arguments in their

separate briefing. For efficiency’s sake, where arguments
overlap, we have not separately addressed each argument by
defendant.
      In their briefing, Hiriarte and DeHerrera each state that
they join in the arguments raised by the other two defendants.




                                20
amended by the changes to Section 188 or 189 made effective
January 1, 2019.” (§ 1172.6, subd. (d)(3).) The parties may rely
on “evidence previously admitted at any prior hearing or trial
that is admissible under current law,” and they “may also offer
new or additional evidence to meet their respective burdens.”
(Ibid.) “At the evidentiary hearing, the trial court acts as an
independent fact finder.” (People v. Owens (2022) 78 Cal.App.5th
1015, 1022.)
       “[W]e review the trial court’s factual findings for
substantial evidence. [Citation] ‘We “ ‘examine the entire record
in the light most favorable to the judgment to determine whether
it contains substantial evidence—that is, evidence that is
reasonable, credible, and of solid value that would support a
rational trier of fact in finding [the defendant guilty] beyond a
reasonable doubt.’ ” ’ [Citation.] We review the whole record, ‘not
just the evidence favorable to the respondent[,] to determine if
the evidence supporting the verdict is substantial in light of other
facts.’ ” (People v. Underwood (2024) 99 Cal.App.5th 303, 314
(Underwood).) “We will not reverse unless there is no hypothesis
upon which sufficient substantial evidence exists to support the
trial court’s decision. [Citation.] We must ‘presume in support of
the judgment the existence of every fact the trier could
reasonably deduce from the evidence.’ ” (People v. Guiffreda
(2023) 87 Cal.App.5th 112, 125.)8
B.     Legal Principles Regarding Conspiracy to Commit
       Murder
       The elements of a criminal conspiracy are: “(1) the
existence of an agreement between at least two persons; (2) the

      8 DeHerrera argues the appropriate standard of review

should be independent review because the judge who ruled on the




                                21
specific intent to agree to commit an offense; (3) the specific
intent to commit the offense that is the object of the agreement;
and (4) an overt act in furtherance of the conspiracy, which may
be committed by any conspirator.” (People v. Ware (2022) 14
Cal.5th 151, 163 (Ware).) Conspiracy to commit murder requires
intent to kill (express malice), “and ‘is necessarily conspiracy to
commit premeditated and deliberated first degree murder.’ ” (Id.
at p. 167.)
       “ ‘ “Evidence is sufficient to prove a conspiracy to commit a
crime ‘if it supports an inference that the parties positively or
tacitly came to a mutual understanding to commit a crime.’ ” ’
[Citation.] ‘Evidence of an agreement does not require proof that
the parties met and expressly agreed; a criminal conspiracy can
be shown through circumstantial evidence.’ [Citation.] ‘If the
agreement between the conspirators is the crux of criminal
conspiracy, then the existence and nature of the relationship
among the conspirators is undoubtedly relevant to whether such
agreement was formed, particularly since such agreement must
often be proved circumstantially. “ ‘The existence of a conspiracy
may be inferred from the conduct, relationship, interests, and
activities of the alleged conspirators before and during the
alleged conspiracy.’ ” ’ ” (People v. Navarro (2021) 12 Cal.5th 285,
302-303 (Navarro).) “ ‘ “The agreement in a conspiracy may be
shown by . . . conduct of the defendants in mutually carrying out


petition did not preside over defendants’ trial and decided this
matter on a cold record (the trial transcripts) without live
testimony (other than Hiriarte’s denials). “[A]ppellate courts
that have considered this argument have uniformly rejected it,”
and we have no cause to revisit the issue. (See Underwood,
supra, 99 Cal.App.5th at pp. 313-314.)




                                22
an activity which constitutes a crime.” ’ ” (People v. Thompson
(2016) 1 Cal.5th 1043, 1111.)
       The prosecution must prove a “defendant’s knowledge of,
and specific intent to further, the group’s unlawful ends.” (Ware,
supra, 14 Cal.5th at p. 165.) The law does not permit “a rule of
guilt by association” with the group. (Ibid.) In reviewing the
sufficiency of the evidence, we must “carefully distinguish
between evidence of mere membership in a gang embroiled in a
violent rivalry and evidence sufficient to support a conviction for
conspiracy to commit murder.” (Id. at p. 166.) The “prosecution
is not required to establish precisely how the defendant intended
to achieve the ends of the conspiracy or that the defendant’s
chosen means were effective in achieving those ends.” (Ibid.)
“But ultimately, to connect any individual to the charged
conspiracy, the prosecution must at least establish that the
individual specifically intended to agree to commit the criminal
offense and to play at least some role in achieving it.” (Id. at pp.
166-167.)
C.     Analysis
       1.    Sufficiency of the evidence
       Considering “the evidence in its entirety,” as is our task
(Ware, supra, 14 Cal.5th at p. 168), we conclude substantial
evidence supports each defendants’ murder conviction based on
the theory of an uncharged conspiracy to commit murder.
Specifically, there is substantial evidence that each defendant
had the specific intent to agree to commit murder and the specific
intent to commit murder (intent to kill, express malice).
Defendants’ murder convictions do not rest on evidence of their
gang membership and association, and nothing more, as they
contend. (Cf. id. at p. 156 [evidence was insufficient to support a




                                23
conviction for conspiracy to commit murder where the “charged
conspiracy consisted of a two-year-long agreement among at least
20 gang members to kill members of rival gangs, without
agreement as to any specific times, persons, or places where
killing would take place,” and “[t]here was no evidence that [the
defendant] had committed or participated in any act of
violence”].)
       As described above, shortly before 3:00 a.m., Salazar
directed Largo to drop him off at a location where Maywood Locos
gang members did not typically congregate. DeHerrera and
Hiriarte were already there, waiting for Salazar. Hiriarte sought
to recruit Zebris to go with them. When he declined, Salazar
angrily said they did not “need” Zebris. A reasonable inference
from this evidence is that the three defendants—who had
arranged to meet in the early morning before dawn, two blocks
north of the border between their territory and that of their rival
gang—could complete their mission on their own without Zebris’s
assistance. As Zebris rode away with Largo, Salazar, DeHerrera,
and Hiriarte walked south on Carmelita Avenue, directly toward
18th Street gang territory.
       DeHerrera’s suggestion that the defendants could have
walked someplace other than the apartment complex where Vaca
was killed ignores the substantial evidence in the record that the
three of them were at the crime scene at the time of the shooting
(a matter of minutes after they left Zebris). According to
eyewitness Perez, one of the men who approached Vaca was
wearing the same blue and yellow jacket Salazar was wearing
when he was detained by Officer Alvarez minutes after the
shooting. There was a very short window of time (10-15 minutes
at most) between when Zebris saw Salazar, DeHerrera and




                                24
Hiriarte walking directly toward the crime scene and when
security guard Gonzalez and Officer Alvarez observed Salazar
and two men running away from the area of the crime scene
immediately after the shooting.9 The reasonable inference from
the evidence is that DeHerrera and Hiriarte accompanied
Salazar to the crime scene to carry out the group’s mission, and
they were the two men seen running with Salazar when he was
detained. An unreasonable inference from the evidence is that
Salazar met up with two different men during this short window
of time, and DeHerrera and Hiriarte went elsewhere.
       The manner in which the shooting was conducted is
substantial circumstantial evidence that murder was the mission
defendants came together to carry out. The evidence shows the
shooting was efficient, calculated, and coordinated. Salazar,
DeHerrera, and Hiriarte walked to a known 18th Street gang
hangout; two of them confronted Vaca about his affiliation with
18th Street; they immediately fired several rounds into his head
and chest with two different guns; one or more of them tagged a
wall with Maywood Locos graffiti that incorporated a reference to
the Penal Code section for murder; and within a couple minutes
of arriving at the scene, the three of them fled together. While
the evidence shows there were only two shooters, it also indicates
that all three defendants remained at the scene until the mission
was completed and remained together thereafter. Salazar’s
comment, before heading to the crime scene, about the group not



      9 Defendants walked three blocks south on Carmelita

Avenue to the 18th Street hangout, and, after completing the
shooting, ran back to Maywood Locos territory along the same
route, all within five to ten minutes.




                                25
needing Zebris for what they were about to do, indicates each
defendant had a role to play.10
      To the extent Vaca was not an 18th Street gang member,
this does not tend to show the shooting was an “impulsive act”
rather than a “preconceived plan,” as Hiriarte maintains.
Hiriarte also references the Mexican Mafia “edict” as evidence
the shooters acted impulsively in killing a non-gang member. To
the contrary, the evidence indicates defendants’ preconceived
plan was to go into 18th Street territory, quickly find a target,
shoot to kill, and return to Maywood Locos territory within a
matter of minutes. Vaca became the target; there is no evidence
he was killed accidentally as an innocent bystander.
      As we explained above, the fact finder may infer the
existence of a conspiracy “ ‘ “ ‘from the conduct, relationship,
interests, and activities of the alleged conspirators before and
during the alleged conspiracy.’ ” ’ ” (Navarro, supra, 12 Cal.5th
at pp. 302-303.) Substantial evidence supports the trial court’s
findings based on proof beyond a reasonable doubt that each
defendant is guilty of murder based on the theory he conspired to
commit the murder. Given our conclusion, we need not address




     10 We note there is substantial evidence that defendants

came to the crime scene with at least three loaded firearms
between them: the .45-caliber and .357-caliber firearms used in
the shooting, and the 9-millimeter gun Salazar was carrying in
his waistband when he was detained immediately after the
shooting. Our evaluation of the sufficiency of the evidence,
however, does not depend upon a finding that each of the three
defendants was carrying his own firearm.




                               26
further defendants’ federal constitutional claims regarding
insufficiency of the evidence.
      2.     Challenges to gang expert testimony
      As summarized above, at defendants’ trial, lay witnesses
Zebris, Medina, and Detective Navarrette testified about the
violent rivalry between the 18th Street and Maywood Locos
gangs that existed around the time of the Vaca shooting. Officer
Davis testified about the graffiti he observed on a wall across the
street from the scene of the shooting, and photos of the graffiti
were admitted into evidence. Defendants did not object to the
admissibility of any of this evidence at the evidentiary hearing on
their petitions for resentencing, and they do not challenge it in
the present appeals.
      Defendants do challenge, however, the admissibility of
gang expert Punderson’s testimony, which they contend provides
the only evidence supporting the elements of a criminal
conspiracy to commit murder and, specifically, their intent to kill.
In particular, they challenge Punderson’s testimony that he had
heard about an incident three weeks before the Vaca shooting in
which an 18th Street member shot a Maywood Locos member,
and his testimony regarding the meaning of the graffiti found on
the wall across the street from the crime scene.
      In People v. Sanchez (2016) 63 Cal.4th 665, 684, the
California Supreme Court held, “ ‘[C]ase-specific out-of-court
statements’ cited by an expert witness to support an expert
opinion are offered for their truth. [Citation.] Such evidence
must therefore be admissible under an exception to the hearsay
rule or supported by competent evidence in the record.”
(Navarro, supra, 12 Cal.5th at p. 309.) “ ‘The limitations that
Sanchez placed on expert testimony concern case-specific




                                27
information that an expert relates to a jury, not materials upon
which the expert relies.’ ” (People v. Curiel (2023) 15 Cal.5th 433,
457.) “[I]t is not improper under Sanchez for an expert to
consider and rely on case-specific hearsay in forming his or her
opinions.” (Ibid.)
      Under Sanchez, Punderson’s testimony regarding a rivalry
between 18th Street and Maywood Locos was admissible based
on his expertise and experience with these two gangs. (See
People v. Anthony (2019) 32 Cal.App.5th 1102, 1138 (Anthony)
[“Under Sanchez, [expert] was not required to personally
replicate all investigations dating back to the inception of the
NSO-Berkeley gang rivalry in 2002 in order to relate general
information about those two gangs and their rivalry”].) His
testimony regarding a specific shooting that occurred three weeks
before the Vaca shooting, however, is inadmissible because it is
case-specific information offered for its truth that he related to
the jury, and there is no admissible evidence in the trial record
regarding such a specific shooting.
      However, any error in admitting this particular testimony
is harmless beyond a reasonable doubt. (See Navarro, supra, 12
Cal.5th at p. 310 [erroneous admission of testimonial hearsay
evidence under Sanchez “requires reversal unless we conclude
‘beyond a reasonable doubt that the error complained of did not
contribute to the verdict obtained’ ”].) We have not relied on
Punderson’s testimony regarding a specific shooting in concluding
substantial evidence supports each defendant’s murder conviction
under current law. And there is no indication in the 53-page
transcript from the hearing on the petitions for resentencing—
during which the trial court specifically mentioned particular
evidence from defendants’ trial—that the trial judge relied on




                                28
Punderson’s testimony regarding a specific shooting in ruling on
the petitions. The court stated in its ruling that the motive for
the Vaca shooting “as was shown at trial . . . was rivalry, bad
blood, between 18th Street and Maywood Locos.”11 Competent
evidence certainly established that this rivalry and bad blood
existed in May 1997, through lay witness testimony and
Punderson’s testimony regarding the general rivalry. Moreover,
the freshly painted graffiti across the street from the crime scene,
matching the color of the spray paint can in Salazar’s pocket,
depicted the violent rivalry between Maywood Locos and 18th
Street contemporaneously with the shooting. The graffiti is
strong substantial evidence that the rivalry was the motive for
the shooting and that defendants highlighted the rivalry at the
crime scene as part of the mission they were completing. In
addition, the inquiry made by one of the shooters immediately
before they commenced firing (“[are you] the ones from the 18”) is
also evidence on this point.
       In testifying about the graffiti, Punderson relied on photos
of the graffiti to which defendants did not object. Thus, there was
no Sanchez error in admitting Punderson’s testimony regarding
the graffiti. (See Anthony, supra, 32 Cal.App.5th at p. 1139
[“attack on [expert]’s extensive testimony about photographs of

      11 In response to argument by Salazar’s counsel regarding

Punderson’s testimony, the trial court stated, “[W]e don’t hear
about gangs only through the testimony of Mr. Punderson. It is
Jack Zebris that also puts context into the rivalry between the
Maywood Locos and 18th Street[,] and Mr. Perez who testifies
that the individuals who approach immediately reference 18th
Street. So it is not only Mr. Punderson who was putting -- who
was bringing up 18th Street and who is giving context to what
happened that early morning.”




                                29
defendants’ tattoos and gang signs” fails “because [expert] did not
rely on hearsay to testify that defendants had the tattoos or made
the hand signs in question. Rather, he relied on other evidence
that defendants do not contend was inadmissible”].)
       Salazar argues Punderson’s testimony about the graffiti is
erroneous to the extent it indicated defendants had the specific
intent to kill. There was no error in this regard. The prosecution
may properly “elicit[] expert testimony to provide the [fact finder]
with information from which the [fact finder] may infer the
motive for a crime or the perpetrator’s intent,” but the expert
may not “testify[] to his or her opinion of the knowledge or intent
of a defendant on trial.” (People v. Gonzalez (2005) 126
Cal.App.4th 1539, 1551; People v. Vang (2011) 52 Cal.4th 1038,
1047 &amp; fn. 2.) Punderson did not opine that any defendant in
this case acted with intent to kill, and he acknowledged that not
every person who writes 187 on a wall has an intent to kill.12 The
trial court could properly consider Punderson’s testimony, along
with all of the other evidence to reach its own conclusion whether
the prosecution had met its burden of proving each defendant’s
intent, and that is exactly what happened here.
       We have no cause to reverse the trial court’s orders denying
the petitions for resentencing. As analyzed above, substantial
evidence, properly considered by the trial court, demonstrates




      12 On cross-examination, Salazar’s counsel pressed

Punderson on whether writing 187 on a wall necessarily “equals”
intent to kill, and Punderson made clear that was not his opinion.




                                30
each defendant had the specific intent to agree to commit murder
and the specific intent to commit murder.
                          DISPOSITION
      The October 17, 2022 orders denying the petitions for
resentencing are affirmed.
      NOT TO BE PUBLISHED




                                                 KELLEY, J.*

We concur:




             ROTHSCHILD, P. J.



             BENDIX, J.




      * Judge of the San Luis Obispo County Superior Court,

assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.




                                31
